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 5
   Attorney for Defendant
 6 Damien Cesena

 7
                               UNITED STATES DISTRICT COURT
 8
                             NORTHERN DISTRICT OF CALIFORNIA
 9
                                  SAN FRANCISCO DIVISION
10
     UNITED STATES OF AMERICA,                         CASE NO. CR-17-0533-8-EMC
11
               Plaintiff,                              EX PARTE APPLICATION TO
12                                                     MODIFY CONDITIONS OF PRE-TRIAL
          v.                                           RELEASE AND [PROPOSED] ORDER
13                                                     AS MODIFIED
     NELSON, et al.,
14
               Defendants.
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16
            Mr. Cesena’s conditions of pre-trial release prohibit him from being in the presence
17
     of co-defendants (expect in the presence of counsel). Mr. Cesena is requesting a temporary
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19 modification of the terms of his pre-trial release to attend the wedding of his co-defendant

20 Jeremy Greer to Alexis Wright. Mr. Greer obviously is a co-defendant, but is not currently a

21 member of the Hells Angels Motorcycle Club. Mr. Cesena has known Mr. Greer for over

22
     ten years. Also, Mr. Cesena’s wife has been close friends with Mr. Greer’s fiancé (Ms.
23
     Wright) for approximately six years.
24
            The wedding is being held at the Healdsburg Golf Club, which is located at 927 S
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26 Fitch Mountain Rd, Healdsburg, CA 95448. The ceremony will commence at 3:00 P.M.

27 The reception will be held at the same location, and is scheduled to end at 9:00 P.M.

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                                                                               Case No. CR-17-0533-8-EMC
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            The Government does not agree to this modification. Pre-trial services is in
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 2 agreement with Mr. Cesena attending the ceremony, but opposes his attendance at the

 3 reception. Counsel for Mr. Greer has no opposition to this request.

 4          It should be stressed that while this Court has previously granted numerous
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     modifications to Mr. Cesena (which were very much appreciated), Mr. Cesena has strictly
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     complied with all of the stipulations of those modifications. In other words, he has not
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     abused the trust extended by the Court. Contrarily, he has been on pre-trial release for
 8
     nearly two years now, and has committed a single violation.
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10

11 DATED: October 16, 2019                     Respectfully submitted,
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13
                                                By
14

15

16                                                   Erick L. Guzman
                                                     Attorney for Damien Cesena
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                                                   2                              Case No. CR-17-0533-8-EMC
                                                                                                           .
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 4
                                      [PROPOSED ORDER] AS MODIFIED
 5

 6
            Mr. Cesena’s pre-trial release conditions are modified as follows: at the direction of,
 7
     and with the approval of, pre-trial services, Mr. Cesena will be allowed to attend the
 8
     wedding ceremony ONLY of Jeremy Greer on October 19, 2019 at 3:00 P.M.
 9
     at the Healdsburg Golf Course in Healdsburg, California. Mr. Cesena is not permitted to
10

11 attend the reception.

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13                                                       IT IS SO ORDERED.
14
     Dated: October 16, 2019
15                                                       _________________________

16                                                       HON. SALLIE KIM
                                                         United States Magistrate Judge
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                                                   3                            Case No. CR-17-0533-8-EMC
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